 CaseCase
      6:07-cv-00060-LED  Document
          6:07-cv-00060-LED       44 Filed
                             Document 43 11/07/07   Page 1 of 2Page
                                           Filed 11/05/2007     PageID
                                                                    1 of#:2 224



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


                                               §
 GPNE CORP.,                                   §
                                               §
                   Plaintiff                   §
                                               §           Case No. 6:07-cv-60 (LED)
 v.                                            §
                                               §
 TIME WARNER CABLE INC;                        §
 COMCAST CABLE                                 §    JURY TRIAL DEMANDED
 COMMUNICATIONS, LLC; CHARTER                  §
 COMMUNICATIONS, INC.,                         §
                                               §
                   Defendants                  §
                                               §
                                               §
                                               §
                                               §

                           ORDER GRANTING AND
                STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       In view of the covenants, promises and other terms set forth in a Confidential Settlement,
Patent License Agreement and Covenant Not To Sue (the “Agreement”) executed between
GPNE Corp. (“Plaintiff”), Motorola, Inc., Time Warner Cable Inc., Comcast Cable
Communications, LLC, Charter Communications, Inc. (“Defendants”) and their Affiliates

       IT IS STIPULATED, by and among Plaintiff and Defendants, through their counsel of
record and subject to the approval of the Court that:

       (1)    All claims presented by the Complaint and Amended Complaint, as well as all
defenses and counterclaims, shall be dismissed without prejudice as to each of the Plaintiff and
Defendants; and

        (2)    Plaintiff and Defendants shall each bear their own costs and attorney's fees.


                    So ORDERED and SIGNED this 6th day of November, 2007.




                                           __________________________________
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                                           LEONARD DAVIS
                                           UNITED STATES DISTRICT JUDGE
 CaseCase
      6:07-cv-00060-LED  Document
          6:07-cv-00060-LED       44 Filed
                             Document 43 11/07/07   Page 2 of 2Page
                                           Filed 11/05/2007     PageID
                                                                    2 of#:2 225




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